              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:15-cv-00067-MR
             [CRIMINAL CASE NO. 1:01-cr-00052-MR-14


ROBERT LIONEL SISK,       )
                          )
         Petitioner,      )
                          )               MEMORANDUM OF
    vs.                   )               DECISION AND ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

      THIS MATTER is before the Court on an initial review of Petitioner’s

pro se Motion to Vacate, Set Aside or Correct Sentence, which is filed

pursuant to 28 U.S.C. § 2255, and his alternative claims for relief. [Doc. 1].

      The Antiterrorism and Effective Death Penalty Act (AEDPA) provides,

in relevant part, that “[a] second or successive motion [under Section 2255]

must be certified as provided in Section 2244 by a panel of the appropriate

court of appeals to contain—

            (1) newly discovered evidence that, if proven and
            viewed in light of the evidence as a whole, would be
            sufficient to establish by clear and convincing
            evidence that no reasonable factfinder would have
            found the movant guilty of the offense; or




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            (2) a new rule of constitutional law, made retroactive
            to cases on collateral review by the Supreme Court,
            that was previously unavailable.

28 U.S.C. § 2255(h). Petitioner has already filed an unsuccessful § 2255

motion, see Civil Case No. 1:05-cv-00312-MR, and he has provided no

evidence that he has obtained the necessary authorization to file this second

§ 2255 motion in which he challenges the same judgment. Accordingly,

Petitioner’s motion will be dismissed a successive petition.

      Petitioner also asserts alternative claims for relief under the All Writs

Act, 28 U.S.C. § 1651. These alternative claims for relief are without merit.

Coram nobis relief is not available because Petitioner is still in custody. See

Carlisle v. United States, 517 U.S. 416, 428-29 (1996). Relief through a

petition of audita querela is improper because Petitioner could file an

application with the Fourth Circuit to present a successive § 2255 motion;

thus, relief under § 2255 is not unavailable. See In re Moore, 487 App’x 109

(4th Cir. 2012) (unpublished) (internal citations omitted).

      Based on the foregoing, the Court finds that it is without jurisdiction to

consider the merits of the present Section 2255 motion and it will be

dismissed. See, e.g, In re Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en

banc); United States v. Winestock, 340 F.3d 200, 205 (2003). Further,




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Petitioner’s alternative claims under the All Writs Act are without merit and

will be denied.

      Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. §

2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to

satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or

wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding that when relief

is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the

petition states a debatably valid claim of the denial of a constitutional right).



                                    ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255 Motion

[Doc. 1] is DISMISSED WITHOUT PREJUDICE as a successive petition.

      IT IS FURTHER ORDERED that Petitioner’s claims for relief under the

All Writs Act, 28 U.S.C. § 1651, are DENIED.




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      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      The Clerk is directed to close this civil case.

      IT IS SO ORDERED.
                                 Signed: April 17, 2015




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